......... ,....., ....................... , ...................... , .. --·-······· ........................................... ···--   ..   .   . ....... ..................................
                                                                                                                                                         -.                                     .,,_,   ..................................... .

Copyright Case: 1-2617427191 Drug Free Gang Free
(LA2012) Drug Free Gang Free in Communities
Copyright Effective July 14 2014


www.copyright.gov ·
-:;_,




STATEMENT OF CLAIM AND DAMAGES
'.

     §         501        Copyright Infringement and Remedies

          (a) Copyright Law of the United States 159
          (b) (f)(l) With respect to              any      secondary      transmission that       is      made
                       by     a         satellite carrier of a performance or display of a work embodied in a
              primary transmission and is actionable as an act of infringement under section 122, a television
              broadcast station holding a copyright or other license to transmit or perform the same version
              of that work shall, for purposes of subsection

                      a
     Att?~Be9 ifs e::9,;y _of c<?Ur _C:_c)pyrigh,te,d, :w6rk
     Atia~hecj Xfs a ~opy. otihe_def~11c:Jantidu-pijcaii(jn.of_o.ur c9pyrigbt\\ted work~
     Attachment3 ls a Pol(ce
     i~tri~fi~c~~~r·--··
                                      He port
                             ·---- ---·····        · -·· · .... ··the· · c6pyrighted-~m~-terYal
                                            ··... ofTheftof              ·· -· ·· ·· · ·· ····· .. · - potentiallyl.eading
                                                                                                       ·......... ··. . -·· - ·-···'to....the·
                                      -   ·- -   <•-   --   -          --   ".   ---   --   . - • · · - -·   -   -


     4t!~chrJ'.erit 4: ~bo\.y~ e_yidei:tt_~g_f f!.l1i!PSia!_9_9rr:i_~ge__fr~rn !h~ infr!!Jg~rr:i~l1!·
     28 U.S.C. § 1915 Failing to state a claim upon which relief can be granted.

     28 U.S.C. § 636 (b)(l)(B)_(B) a judge may also designate a magistrate judge to conduct hearings,
     including evidentiary hearings, and to submit to a judge of the court proposed findings of fact and
     recommendations for the disposition, by a judge of the court, of any motion excepted in subparagraph
     (A), of applications for posttrial w relief made by individuals convicted of criminal offenses and of prisoner
     petitions challenging conditions of confinement

     1~-ff\i~~~-aS.e_,_~~--~el!~v:e!hat !~~- d~f~~cf~~!:c9pyrjg_htJ~friflg~~e11Ii!;_e_rrone.c)1:!5-~11~-e:o_~fr~IYj:'a)~~:'.
     -~foa_s~ s.~~-!~i -~ ig:fi)ig_hfecf ~·~-~!ions_ ~!1-~~r]~iQ4~ $_µQj~c!i\i!~t!~r.i~.fsc_OE~. C?.f. ~9P.YI!g_h_~.: . .i.b~-yi9la!i_o ~
     i5.i~~afGEffifa:·~-~@~aiif.r2~~91J~v~ihi_~~-v;;_a-~~:::5ti·iv~ ~lre}or-iJ!.9ti~ g.~in:ini gftaf'~ ~~ii>ffsitfr~h.-oi
     :cai>.vr!gh!~a__v:,c;r~ foi,a -i?~ri~-~ ·c>r~              :via
                                                      rs_ ~-~~-~f i=e~i~~fc9·pyrJ.ibf~~Vy-_;··alir))Li_~iEess 6a51qsT09~ev· !ri
     thi~~int~ing~me,r1i 9 n_cj"i~ f-i~i1d.pu~'_{?~r _c_harifv.~oLJ.(Qf~_~iitie~i-: /\it~ch~ec(i5 ~"id~~C:e Cifltna_ri-C:i~Dass ·wffH
     ih~_copyrtgfae_d._mat~_rial~efrig-int{i.r1_i~~--up9n,by-~h~'_~foie!l_~ant)



     Id.; Thomas v. Arn 474 U.S. 140, 149 - 50 (1985)

     (149)we need not decide whether the Act mandates a waiver of appellate review absent objections. We
     hold only that it does not forbid such a rule

     (150)does petitioner point to anything in the legislative history of the 1976 amendments
     mandating review under some lesser standard. We are therefore not persuaded that the statute
     positively requires some lesser review by the district court when no objections are filed.
     Petitioner also argues that, under the Act, the obligatory filing of objections extends only to
     findings of fact.

     1fr ili!i ~a~~:~~--~~niv.~_!hi'_i~tr~n_g~ ~~ [!t _~·--~--.fe.~~i~ fXipl at! C?.rlQf~§P.vrlg h! !~0. ~~~~ ~~-~b~~ ~iilvri.gfo -~a.?i
     fQRY~fgfat.:~~~i~F?'§114~I1~IJ2i~~i:Ff~~:_§_a.~g~£j~~-(Q&~9I~)__~ifiiii,rr~~--§~r\gj~f~~Jn
     ·g~rrirn_tirilii~s-~ ·_._-:_§~_9i·:~~-~qP,yt1i~1·1~t~fni~!n-~-~~;~~~-R~~e~Te_~~0ri~~rfoi.~-~fJYr_igh{~-?~-qf.th:~
     ·vnJ~e~ _s!afe5 'i_$9.-• J!1_'_5iC:_~-ian_ ~ it?.-6"~.-~,<slG~iye:rig_~~i!~capyr_i{it1fr~:\Nq-r1<~~$_-~h~re _i~ ~yici~6_C:~ -fo.r ih~t:J
1_n_ t~~ .. at!a~hll)~-~!~ -~_!t~. thi_s ca~~~-_th_er~.i~ _a c:opy of_f-h~-1ef~ndent~.i.yebp~~e P!: i~fr~n?e~en.1 °'11_a us.
copyrig~t1 <!_nci _ar:i a_!t~c;hl_!1~r:it _of t_h_~ 9rigi11a_I _(:()!:JyrighJ:~-~-~()r_~.i~s~!f. _ \JV_~ _b~_l!~ye_ i! ~?_S_ ~?_s~d, gn a_
t.he~, ?ri_ci~ h_~-"e. an_~tt_a~_hed rJ()li~e ~eport \ilJith c_rii-ll~ indd,ents.to sup_p()_rt wh~t-\ilJas b~hlnd t~e,
i nfrl n_gertJe·n·( itseifr)ote.n~ia lly.
§ 106 · Exclusive rights in copyrighted works38

Subject to sections 107 through 122, the owner of copyright under this title has the exclusive rights to
do and to authorize any of the following:

§         104a       Subject Matter and Scope of Copyright

Copyright Law of the United States 17

     li))o reproduce the copyrighted work in copies or phonorecords; (2) to prepare derivative works
         based upon the copyrighted work;'


[D t_h)~5-~~e-:-l}Jt_b~_ll~~i;-~J~~~L_8()~e~~y'.!'{~!VV.~~k.'oft/etJ_p,?,~e(w\,v~~h~me~?.Yi,~d':lst~i~~~o!g/_~I:!_~)- i_s_a_
9.~~!va1lv~_l}J_()~~-()f_ ()~i'.".()!:JY~ig~ted_ ~~~!:Jage l,VIJYl,V.d_rugfreeRa_ngfre_e.org _~()pyrig_h_~_C:as_~:_ 1-'
?9t?4?ti~j-Dtljg~Free--Gii69.F'r~~~(LA75f?Y.i5r~9-F.r.ee~pa_n-9fr~~-ln_¢9mri1l}!litie~
(3) to distribute copies or phonorecords of the copyrighted work to the public by sale or other transfer
of ownership, or by rental, lease, or lending;

1,!1 ~his C:?~~.~~ ~e)i~-"~-~lc:>.~al_8~r(l~~9Y f'J,~-!l}J_~r...k isAt~!.rJ.~~tj~K~t ~!~a_~~!a_I g_~[l}.~()_py_rl~hteci ~~r~ !O}h.$
pu~li". trC>rri OIJr_ copyr.ight~d-~e_bpage_ www.drugfreegangfree.ar_g <;:_opyright_ Case: 1-~61_                              7427191,
                                                             7
_Qryg-Fr~~- <3~~9 free_(iA~-61_g))5iu9l r~~--~fa-~9J=\~e~l~c9Dir:fl~r1}ti~s
(4) in the case of literary, musical, dramatic, and choreographic works, pantomimes, and motion
pictures and other audiovisual works, to perform the copyrighted work publicly;

111,t~_i_s:c?_~~~~.~ellev~_~!pba_l·H_o_ri:i_~-~°"y N~!wqr~-~~~pa~_e_(IAf~l/J~~~m-~boyi~~u,s~ri,es.?r?/G_~~). is a
df!:~i\J_atiy_ey11c;>rk_of O!;lr__Cc:>PYfight_e~ w._ebpa_ge_ www:drugfreegangfree.org --~~·Ryright q:is~:J_-.
2£3"17427191 Drug ··p ree Gang                    Fr~e -(i;A2cY12)«I5r09. Free.
                                                                              ~ang                 -F-reEi.
                                                                                           !n·«~~orrfrn ~niti~s.



 (5) in the case of literary, musical, dramatic, and choreographic works, pantomimes, and pictorial,
graphic, or sculptural works, including the individual images of a motion picture or other audiovisual
work, to display the copyrighted work publicly;

1~-this -~ase.we believe Global Homeboy N~twork webpage (www.homeboyindustries:org/GHN) is a
ci~-ri~;ti:Jr~~·;i: ~f"~u;- ~~~~;i~;,1~-ci~~~-bp~~~ ~ww-W-.'ci;~ii;~eiia.nifre~:a·~g capyri'gllt: ca5~: 1~.--                       ···
26-174~7J9f6-'iG9~_Fi~e-~~-n9·1=~~~flA"2oj?f:·o·rLJ9·r:re,~-~~ri9_fieiln 9~-~~-u-nlties
§ 106a · Rights of certain authors to attribution and integrity39

(a) Rights of Attribution and lntegrity.-Subject to         section 107       and    independentofthe
exclusive rights provided in section 106, the author of a work of visual art- (1)            shall    have
        the       right- (A) to claim authorship of that work, and (B)       to      preventthe       use
         of       his     or       her    name as           the      author of       any     work of
         visual art which he or she did not create; (2) shall have the right to prevent the use of his or her
name as the author of the work of visual art in the event of a distortion, mutilation, or other
modification of the work which would be prejudicial to his or her honor or reputation; and

In this case we bellev{GTo-bai-Homeboy
                     :_:-;:,;'<-=·-··=::"::....,.;:::;:..::-.. -':....
                                                                       Network\Ne-Bb~iie Twww.hbmeboyindustries.org/GHN} i~
:;:::;:"-__ ;-;- "::."'.:.:::::.= _;;:-:;;:::·:_::-....;:;:;;:;';.._-'-::;;;:. ::_ :-   =.=:                             :.:::_
                                                                                               :.:;:;:::;-·;:::.:...~.::::.::::::::.~-::;:_-::.::::...::::::":'--;'""'.:.:·   :::::-__ ..:. :-;_;,-......-:::..   :..:..;...;;::_....:~~-;...:,.__; ___;.._ -~   -   ~:;;   .. .,...,;~~--...:..--:....   ~-   -   --·""'~,......,...~ -=~



p_r~v~p!)!)_g· !h\=_~s~ :~Jt~~ rig_h_tf!l!_<?.~·~_11~( c:>_f o_y_r ~c:>_p_ytigbt~~- w~~p-~g~ www.drugf~~ega ngfree:9_rg ~~-~
_yj~-9f t~fr~~C.9rv[(gh!-.h~f~ir~-n-a~~-a.~~he-~~u*~(_gfi~e-~a:~~~h~~tTi.·~ .f:~_d.e,r~1_11itring:~~-~-6t-f9ri
iE~:f-2pv_rig}!t~_ai~;-1~?Eif?~2:11~1J5-f~iiF=_1:-~~~~~rfri:J=re~:-tCA261-~)-'qr~_9-f.r,~~·G_a.-69:.Fr~~
11i t9i!lri1~_6!tie§


 (3)    subject to       the     limitations      set       forth in       section 113(d}, shall  have
        the     right- (A) to prevent any intentional distortion, mutilation, or other modification of
that work which would be prejudicial to his or her honor or reputation, and any intentional distortion,
mutilation, or modification of that work is a violation of that right, and

!.D-~h!s £~?~ _W.~~b.~li~~E;:§!ob.ai )-lc:>_~-i:~oy~~~t-~~-r~ 0~~p-~g~_ (~W~._b~~eb-(;xi_ndu~tries.org/~lj_Nt i~ a~
·~Qditi~a1:ici~-~Tth~ ~~r'i< ~i~o-ur-t~pyright~d ~~bp~g~~ww.cirli-Jreeganzj:~ee~org-copvr-ight-case.:·
5~~-6Ji4~7'l9i"Q~~9~fr~i;G~~9~1=r~~~ckf\29J'?)]~_[_~gf:_i:~?-_·G~r19_ -F c~e. f~:cacrD:(T1~nif~§~.


 (B)                             to                                  preventany     destruction      of       a       work of         recognized         stature,
                                 and                                 any    intentional or grossly negligent destruction of that work is a violation of that
right.

!r-_th_i~-~~~~-w~ be)_i~y~glg_~a1_89 ~~~~gv_~et0_or:~':Y_i:~~~ge (Y:J~w:_h~rtieboy_ln_dustr:i_es.()rg/~HN)_h'!~ in_~
v~~~s -~f activ~-i~-f~i~g~;:;;~~f~t ~-i~cie;ai ~~Pv~i-g-ht: C:61Jvright-case;-1::-261742Yf9To-rug~Pre-e
~~D:gJr~e~-Iw95?.)~'Q!~9~i.r~;_Gi~9~Fi~;J~3~~,c?~"~~-~rti~~~1h~t1h~t~_ ijr.i~i1~t~c~-?~8-:9~
!t1~t-co~)~}il[lci~itfi~-r~i)ut~tiqo 9fth~-99PYfl9fiteci-fri?f~f!?iJ                                 __
·•




     § 107 · Limitations on exclusive rights: Fair use40

     Notwithstanding the provisions of sections 106 and 106A, the fair use§ 107 · Limitations on exclusive
     rights: Fair use40

     Notwithstanding the provisions of sections 106 and 106A, the fair use of a copyrighted work, including
     such use by reproduction in copies or phonorecords or by any other means specified by that section, for
     purposes such as criticism, comment, news reporting, teaching (including multiple copies for classroom
     use), scholarship, or research, is not an infringement of copyright. In determining whether the use made
     of a work in any particular case is a fair use the factors to be      considered     shall include- (1)
     the purpose and character of the use, including whether such use is of a commercial nature or is for
     nonprofit educational purposes; (2) the nature of the copyrighted work; (3) the amount and
     substantiality ofthe portion used in relation to the copyrighted work as a whole; and (4) the effect of
     the use upon the potential market for or value of the copyrighted work. The fact that a work is
     unpublished shall not itself bar a finding of fair use if such finding is made upon consideration of all the
     above factors.

     121 · Limitations on exclusive rights: Reproduction for blind or other people with disabilities64

     (a) Notwithstanding the provisions of section 106, it is not an infringement of copyright for an
     authorized entity to reproduce or to distribute copies or phonorecords of a previously published,
     nondramatic literary work if such copies or phonorecords are reproduced or distributed in specialized
     formats exclusively for use by blind or other persons with disabilities. (b)(l)    Copies or
               phonorecords to        which this       section applies shall- (A) not be reproduced or
     distributed in a format other than a specialized format exclusively for use by blind or other persons with
     disabilities; (B) bear a         notice that      any     further reproduction or          distribution
               in      a      format other than a specialized format is an infringement;

     lt!_t_~)? <:_<!s~~we_9ei_i~~e_?l()_b_'!Ll-l()r'n~b~y__Ne~1,A1or~ "Ye.b~?ge. (~~w'.~om~bgyi~~l:'?~rie_s.on~((.11-!N) is.?.
     i~~iy~tl~~:~9:r~:9~~~t-~~rvii_ghii~ ~e.~-P~.g~w0_'w~~-r-u.gfreega_n.gfree~org !h~!Jsj~ff~i~~jq?
     !n~~~ii~~I~"~i!~-~i~i~i.J~1:J_~s-o~,~b 9 .•~~ylJe._~ffr§in_,·s·agvri~~iS~~~~:E?.~J74_2f1~·1 ·02~~-fr_e~
     Gsing F~~~~ (~2Q1_~t Prll9.f.r~e .G?rt9 Fr~~Jri Q.on:imurijti~-~- Jh.E?Jemr()du~tig_h 9f Qllf:
     ~J:?~J~A9ie~--~~t~r1~1.-·is ciot ~~~pecl~i.i~e.d.tc)rm~C~9~th~~refc:>re IS~_oh§ic[el-eci ~r]
     i!Jf~i ngE?'ll~rit.

     ~r! tb!?.~-9~~ ~e_ ~~-1 i_e_y~_'21~~?JB()~~~iY__~:~ti/:i~-~~:0~t?P.a&dwww ~t1~-rtieb 9 yi r1d u~tries.arg;/GH~'f _i_i -? ~
     1rifrh~~):n~~lii~h?i._b_9_s~_si~~~~-.fir1~~ci~f 9~-~age_~~far}~:~-~i:ci)•~~-r~ril~_!e~_frjatfri~I!o:~iiieaiiit:~b-~i-~h-~
     ~qeyffgt1~f~~ag~0-~v:i?~r~!~ifo~f~-~iri1~aS:~~!iv_iE~·ir!fo!igi~~0~::'.f~.e foJriDi_~-~-~rit~~-~1_a:r-~f!J-1~,i~tlf
     qif~oft?ii.~!f!.ei5-:~:~iia~foici.~~ia_C9_a~gi~g_e_itr()!li_t)1~-fof0geQ:i~~i_:, Jhi. Ln.fi:ln_g~i(fu~~er.iaT,:~~a~i'.~P~
     i~.l?~~t :~~/\e9Li}r)ITI~nr2t ~liv-~inc( -ii: is-~[i-iQtrfoge[n~~i-61'yft.'(~~faP~i~ ·can~~Qi}
    copyrighted webpage www.drugfreegangfree,-org Copyright Case:                   1~2617427191 brug Free
    Gangj:-r~e     (LA261-4)orug i=·ree·G-ang Fr.ee i~              G~~mu~i!ies        -- · -- · · · -


    and (C) include a copyright notice identifying the copyright owner and the date of the original
    publication.

    Copyrigh-t Owner:                Beth Ford
                                                          .   -
                                     Direct Establishments

    oateof O~iginal Pubii"ca~ion: 7/2014;

    (d)     For     purposes         of      this    section, the      term- (1)         "authorized   entity"
            means a           nonprofit      organization     or       a        governmental agency that has
    a primary mission to provide specialized services relating to training, education, or adaptive reading or
    information access needs of blind or other persons with disabilities; (2) "blind or          other persons
            with    disabilities"    means individuals        who      are      eligible or      who   may
            qualify in        accordance     with    the      Act      entitled "An      Act     to    provide
    books for the adult blind", approved March 3, 1931 (2 U.S.C. 135a; 46 Stat. 1487) to receive books and
    other publications produced in specialized formats;

    In.this case we believe Global Homeboy Netwp~k webpage.(www.home-boyindustries.org/GHN) i_s an
    i~_fri!1~~r;i~~_thal:h_as ~~-~s~d fi~a~~i~i_9a-~~g;~-f~r-F~d~-~~-1_ c~pyr_lg_~teci mcit~rial,!a·i:~~ p_9int-!h~~ t~~
    ~opyrlghte·ci-~1ge-ncY's-repu-tation is da-maged by the-intringeme-nt.. The-fniringemerit could p~t plairitif
    ~-~t q(b_u~i~i~~ due _tR'_fi~~~cia_l _dama~es f;bm t-~~-!~fd:n~~~,'e,nt~__ }he-!nfri~,gif~~i:ei-iai~-dge~ nbt
                                                  0




    impact ADA equiplllent 9f any kind. It is an infringement of VA (webpa_ge content).

    copy_righ_te~__webp~_ge_www.drugtreegangfree.org _C:qpyrigh~ Ca~e_:_ 1:-261742719~                   D_rug Free
    Garig-F'i-e~ (~9.1~f f5ru9--Fr~e:~~n9F'~e~Jn.corrlmuiiltl~_s'



•   The plaintif in this lawsuit, Drug Free Gang Free, that
        1. We have a good faith belief that use of the copyrighted content described above, in the manner
            we have complained of, is not authorized by the copyright owner, its agent, or the law,
       2. The information in your notice is accurate, and
       3. We declare, under penalty of perjury, that you are the owner or authorized to act on behalf of the
            owner of an exclusive cop right that is allegedly infringed.




                                                                  Title   ~



    Enclosed Attachments:
   1.   Copy of copyrighted material
   2.   Copy of infringement
   3.   Statement of financial damages from infringement




Copyright Notice


   1. The Copyright Symbol
   2. The Year of the Creation
   3. The Name of the Author
   4. A Rights Statement
                      I




COPYRIGHTED CONTENT
'




     . "· c
    -·· ~




                .
                                  .·
                               ~ A ~
                       ~fL'()\r\fhJ\


                                          HOMEPAGE

            Look out for our domain switch to
            www .drugfreegangfree.org
            CAUTION: Pitt Bulls are Dangerous! Kids SHOULD NOT approach strange dogs or Pitt Bulls
            Click here to add a content block.
Content copyright 2016. DrugFreeGangFree.org. All rights reserved.
Copyright 2012-2015. All rights reserved.
.~




                                            ABOUT US
     Drug Free Gang Free started in 2004 as a retail store. From 2004-2007 the extra proceeds from
     the retail profits were donated to those in need. After the owners finished the college, we started
     to hire felons and other people. Now our retail is mainly drug and violence safety products, that
     are all researched for effectiveness for drug and violence prevention by the Prevention
     Society. We established 501 status April 2012. Today the charity works with The Second
     Chance Offender ReEntry and in accordance to those guidelines.

     Our charity offers our employees and people in our 135 location local communities
     classes biweekly in resumes, college planning, job interview skills, and job interview etiquette as
     needed to our employees as well as to the general public.

     **********ANNOUNCEMENT: In regards to applications for part time work. The average
     wait for a job is 60 - 90 days at this time, but if you attend the local classes it could be as soon as
     30 days. Call about our local class locations!
-·




     Meet the Board!

     Taylor Anthoney Acting Chief Officer      Masters in non profit administration. 6 years
     experience in homeless services.
     tAnthoney@drugfreegangfree.org

     Dr Jones ESI 1, Participating Department, Drug Prevention, Res Asst, 2 Predoctoral Trainees
     Supported 2015 for Drug Abuse Prevention Intervention Research, work with Court Services
     mJones@drugfreegangfree.org (14 day to 21 day response time)


     Laura Jones Financial Officer (board terms ends 2017) Criminal Justice. Previous experience
     in budgeting and financial management for 501 c3. Research Associate
     donations@drugfreegangfree.org
2013 Audit and 2015 Review Available on Request! Just email info@drugfreegangfree.org or
give us a call!
Click to add text, images, and more.




DONATIONS

RUG FREE in the local communities!!


Donations
If every $1 went to a person who needed it! Remember, we are and have been accepting
donations since 2/2012!


Thanks for inspiring drug free!
Click to add text, images, and more.
Contact Info
Drug Free Gang Free (501c3)
(new headquarters, call for contact info)
BATON ROUGE, LA


info@drugfreegangfree.org

Phone-1-888-533-6661
Fax- 1-866-396-1723
                                                        Contact Information
         In this area, you can enter text about your contact form. You may want to explain what happens after a visitor submits the form
         and include a contact phone number.


         First Name:


         Last Name:


         Address Street I:


         .."'"ddress Street 2:


         City:


         Zip Code:
                                                           (5 digits)
         State:


Daytime Phone:


Evening Phone:


Email:

                                    Enter comrents here!

Comments:




Click to add text, images, and more.
    '\




                                                                                                            RESOURCES FOR ADDICTS
         peo~ie'Wiloare-addlctedto;'.'Clrtlgs~o£"ottl;er·thi.ilgs;:01·ay n'<it''ilavitll'~
         &,,,,J.,.~=-............W.=.-M,,,,; ••wu~.--,.~-----•~---•-··•··-'<·"·•'"«·";..,., ·•·--~·-·-~·-···-«.•N-.~   ..-H.v•''"'   .~,;,;,...,,,.,.,. .. «~.0..<N,.,,,,.~m   .. ~w>'~<«•~~.-~:•..•. < ·••~«d.-,.-~~ ... ,.,,-~00 ... ·,,.,..,,,.,~~v ..•··•-•"••• ""_;..,_.;.,..,_:,,,,;-.,;
         g~-;"~-~";:·.;~~-""'T:".-s<~~~-~-.,,~--::'·-"'."'=,,,,~~;~.·-.,,··-·····--·~-~-~v··-                          -·-:-w·N . ~""'""'.'.· ,.,._.-~-r"'."'y·:·-'<'".        '"., -~·:'.'?·'   w;=··=~~\?~';'.m -~-;?;~"7':'"'"'"'~-·:--~·z;;r7"" ·---~=-····r•·~•-m•-····~-~·'?',,,,,,,'..,.'.~1




i        ·resour:ces·.available to get the .help tfley:,need~<Her:e·are sO:me important
         t~~~~~~:~fi;£jf~fr>~~;~~:~~-~~E~~~~;:,_~~~~~fi~rj·~R~Q~·~tii~J~;ifu~tFi~
         ~~-~j,!~~[~~~~.~-r~2:~J
I
!

l
I




         p~:-c•c~;-··:····•:··c~-·,··-··:··o··.,-·.                             ·:·::c:·, ..,....- ......_.........,., ............. ,,_...,,...............              ................ ,.. ,........................,   ··: .... ,.,....:::--·-···-·:::•·:·co:•-·:«·:·:·c·-:·:·

         Ll[bi~Jfl{e~page has (l·~e(lro~h, .engi11e f<?r!l!lY.city ii} th~ 4~ (lfi'~ ~~yg
         i_.,....   ¥""""'."'-:¥··~•·"""":","~~·c······~·,··;··¥·;···•~~:¥:•~




         t"~e_atrn~ht. :

         http: //findtreatment.samhsa.gov I




         http: //www.na.org/

         http: //www.aa.org/

         There is help out there if you have an addiction problem, it's important to find and ask for help if you
         need it. We have someone on call 9-5 EST Mon- Fri if you need help in that time, please call our office
         and our case manager can aid in getting you the help you need. We have resources available for the
         drug addiction, regular crisis as well as housing in most of the US. Have to ask if it's needed though. So
         don't be afraid to call or use a resource. We use the SAMSHA inpatient treatment locator for local drug
         treatment referrals via hotline. 888-533-6661 treatment referral ext

         Risks of Marijuana Resources!

         http://www.narconon.org/drug-information/dangers-of-marijuana.html
https://www.drugabuse.gov/publications/drugfacts/marijuana




                                   FACTS ABOUT ADDICTION


Fact- 75% of the US prison population is incarcerated for a drug or drug related
offense (such as drug induced or a bad drug deal etc ... )


Fact- The US ONDCP Yearly Budget includes less then 1/3 of the whole budget on
drug addiction treatment and treatment services

Fact-Between 2002 and 2007, teenage use of cigarettes declined from 13.0 to 9.8
percent. The past month alcohol use declined from 17.6 to 15.9 percent and past
month illicit drug use declined from 11.5 percent to 9.5 percent.



CHART- STATS ON TEENAGE DRUG USE
                                                                                                                                                 \
                                                                                                                                                 \




There is an increasing trend of a decease in drug experimentation in the teenagers now a

        !{)%,   l                                              --Marijuana
                                                                ......,,. ........ Noomacical lJsa a.:
                                                                                        ?tes.::rip~lcn-'fype D11.19s
                                                                       •         .. Inhalants

        8%      i!               7,9'

                                                                                                       6,7                              6.7

        6%~
        4%                                    3.6
                                                                       3,3                            3.3
                                                         .....,,...,,,.·t:.;'l.······            ·······--·~---- ..........   ···············O



        2%                       1.3                                   12                              1~                               12
                                                                   •   -,~,....,,•.;.x"'"-""'°_,, -~-'"'A·-~--~-"'~'"=Nff-,4




days.


OURCES FOR FAMILIES OF ADDICTS
Families of addicts may have to go through a lot themselves with the addiction. There are
resources in the local community that are available for the families who may need support from
that. Here are some of the resouces for the families in need

This webpage offers peer suppo1i to families that may be impacted by addiction. There are
people out there who can relate and know resources for what they are dealing with.

llttp;jfg}::_qnon. alat(}gn..orgL.home

This webpage offers resources that are available about


It is always important for prevention for parents to talk to their kids about the harm of addiction
or gang activity. This is imp01iant, because with the generation gap between what parents faced
in the drug world, and what their kids face with the peer pressure, is large, so parents may not be
aware of what their kids deal with. Since that is important, as a role model it is suggested to
remember to talk to you're kids about the danger of that.
REMEMBER! IF A STRANGER APPROACHES YOU WITH DRUGS TELL
YOU"RE PARENTS OR THE POLICE!




DRUG FACTS FOR FAMILIES OF ADDICTS TO BE AWARE
OF
How to tell if you 're child is using the drug cocaine




  •     Warning Signs may include dilated pupils, increase in blood
    pressure, abnormally fast speech, sweats, hyperactive
  •     Dangers for teens and experimentation. Health concerns
    include major addiction, heart attack and stroke from the
    stimulant.

How to tell ifyou're child is using the drug marijuana
  •    Warning Signs may include the red eyes, lazy behavior, short
    attention span, short term memory, slurred speech
  •    Dangers for teens and experimentation. Health concerns of
    long term cancer, lack of judgment, gateway drug into major
    addiction
How to tell if you're child is using the drug opiates




  •    Warning Signs may include red eyes, lazy behavior,
    withdrawals from the drugs, marks on the arms from injections,
    loss of consciousness,
  •     Dangers for teens and experimentation. Health concerns can
    include death, very easy to over dose and the addicts heart can
    slow till death, abrasions, blown veins, clogged arteries, hearth
    attach and stroke
How to tell if you're child is using alcohol
  •    Warning Signs may include slurred speech, disorientation,
    loss of balance, smell of alcohol, black outs
  •    Dangers for teens and experimentation. Health concerns can
    include death from detox after long term use, drinking and
    driving can result in death
How to tell if you're child is using inhalants
   •    Warning Signs may include slurred speech, inhalant pimples
     (an inhalant addict will break out in small pimples), dilated
     pupils, increase in hearth rate and pulse, disorientation,
     confusion
   •    Dangers for teens and experimentation. Health concerns can
     include immediate death from the inhalant due to no oxygen to
     the brain. It can also cause permanent brain damage by cutting
     off the oxygen to the brain.




                             "***For people who are interested, they do
have counsels for specialist who are into prevention of abuse of the
various drugs. Interesting fact.
Click to add text, images, and more.
Content copyright 2016. DrugFreeGangFree.org. All rights reserved.
Copyright 2012-2015. All rights reserved.
                               WHAT WE ARE WORKING ON


1 Drug Free, Safety and Gang Free Product Donations to Places who may need those items
2 We have a drug treatment referral hotline. If you are in need of drug treatment locally, please
call and leave an anonymous voicemail in the treatment referral voicemail. Within 24 hours, one
of our specialist will contact you with a substance addictions treatment center location that is
near to you. 888-533-6661. leave a voicemail 24/7 in the treatment referral voicemail box.
3 We have a felon employment program now. (FEP Program). Please email the jobs hotline, or
leave a voicemail on the JOBS extension for an open office job listing.

Employment Application1 .pdf
44.9 KB


WE DO NOT ACCEPT APPLICATIONS VIA MAIL.                     ONLY IN CLASS, PHONE VIA JOB
EXT OR FAX

We have some part time listings available now in customer service! We will contact you for an
interview once the application is reviewed.

Currently hiring for a Project Director. Minimum 3 years experience and masters degree in a
related field to apply.
Currently hiring for a Human Resources position. Minimum 3 years experience, supervisor HR
experience is preferred.


jobs@drugfreegangfree.org

Our charity offers our employees and people in our 125 location local communities classes
consistently in resumes, college planning, job interview skills, and job interview etiquette as
needed to our employees as well as to the general public.


CALL OR EMAIL FOR OUR UPDATED LOCATION LIST!


888-533-6661 leave a voicemail in the jobs extension, one of our highly trained managers will
contact you back as soon as we can with an application. We do have a handful of part time jobs,
local to each of the 125 locations.
Click here to add a content block.



WARNING! "PIG" the pitt bull is a mascot, KIDS, Pitt bulls are very very dangerous! Do not
approach strange Pitt Bull dogs, it is dangerous, "Pig" is a mascot who is with a professional
during all of the videos!


Drug Free Gang Free (501c3) will miss our drug free dog Pig!
****Safety disclosure*** Pitt bulls are dangerous, talk to you're child about not
approaching pitt bulls. KIDS SHOULD NOT APPROACH STRANGE PITT
BULLS! The one in the video is with a trained professional at all times during the video

Content copyright 2016. DrugFreeGangFree.org. All rights reserved.
Copyright 2012-2015. All rights reserved.




                                  ONLINE PRODUCTS




             Your Video




                                                   SOME OF OUR CURRENT PRODUCTS AVAILABLE
ONLINE!
CURRENT DRUG AND GANG FREE CHARITY DONATION GIFT PRODUCTS. 100% of profits go to charity.



INTRODUCING A NEW PRODUCT!
Coming Soon! 12 Month Drug Free Gang Free Dog Calendar $20.00 (on request item)




GANG FREET SHIRTS                         15.00
          (S,M,L,XL,2XL ALL WHITE LOGO)
DRUG FREET SHIRTS                         15.00
          (S,M,L,XL,2XL, ALL WHITE LOGO)
GANG FREE HATS        (ONE SIZE white)     18.00
DRUG FREE HATS        (ONE SIZE white)     18.00
HOLIDAY CARD AND POTPOURRI GIFT        4.00
DRUG FREE COLORING BOOKS              3.00
GUN SAFETY COLORING BOOKS             3.00
INTERNET SAFETY VIDEO                20.00
INTERNET SAFETY COLORING BOOKS        3.00
DRUG FREE TEDDY BEARS WITH CAPES     10.00
       (green, blue, purple, pink)
GANG FREE MON KEYS WITH CAPES         5.00
       (green, blue, purple, pink)
DRUG FREE or GANG FREE BOOK BAGS      8.00
       (pink or blue)




SOME PRODUCT IMAGES
Caped Bears                    T Shirts       Coloring Books
Card and Potpourri               Hats                          Bookbags




OUT OF ONLINE STOCK ITEMS


DRUG FREE GUM AND LOLLIPOPS
DRUG FREE PARENT WORK BOOK
DRUG FREE TEMPORARY TATIOOS
POLICE SAFETY BADGES



Please include in the comment section which items you all are requesting for now and which sizes. If
you have any questions please email products@drugfreegangfree.org or call the products department at
8885336661. Ask us about our free product brochures available with photos, just not on line at this
point. Thanks! 100% of all product proceeds go to charity!

   Script




                                  PRODUCT VENDING
vendinginq@drugfreegangfree.org 888-533-6661 Cleaner Communities Section. One of our
specialist will contact you within one business day.

CURRENTLY NOT ACCEPTING APPLICATIONS! CALL FORA FULL LIST OF
LOCATIONS OR YOU'RE LOCAL LOCATION
CHECK BACK! THIS PAGE IS UNDER REP AIR!
 A.
                               GO::ENDIN:)
/The mission of the Product Distribution Section of Drug Free Gang Free is to work with
 organizations across the country to create therapeutic communities that offer job skills training,
 cost-free programs and services, and social enterprise employment.

 ·The Product Distribution Section of Drug Free Gang Free's goal is to assist other organizations
 as they provide marginalized men, women, and youth with tools they need to change their lives
  and become productive members of their communities.




 :At its core the Product Distribution Section of Drug Free Gang Free seeks to support the vendors
 in the community interested in working with felons in recovery, by supporting growth, products
 for jobs, and instilling the values of hard work as an alternative to relapse.

 Drug Free Gang Free launched the Product Distribution training option for vendors in the
 community to offer services working with felons in April 2012.

 The current 120 locations across the United States is open for branching. This unconventional
 "conference" included technical assistance, best practice, storytelling, workshops, panel
 discussions, and activities that helped share the knowledge and tools found within the Homeboy
 model.

 The Drug Free Gang Free national organization now includes over 120 locations that are actively
 working to provide training and employment nationwide for felons in recovery.

 The Products Distribution Department of Drug Free Gang Free works continuously to expand
 our horizons to new communities in need of services. Since April 2012, we have continued to
 push towards growth in expanding to new communities in need of services.

 Since Drug Free Gang Free's start in 2004, the organization has helped hundreds of felons in
 recovery and the homeless in recovery to work towards the goal of work as an alternative to
 relapse. We have networked with a few vendors since 2012, towards expanding our services to
 the general public and communities in need.
The Product Distribution Department of Drug Free Gang Free provides training and values to
any vendor who is interested in opening their doors to work with felons in recovery. The
training is free, there are no membership dues for the training itself.



The Goals of Drug Free Gang Free Product Distribution
Department:
   . To provide training (free) for vendors who wish to open
     their doors to working with former felons in recovery or
     the homeless populations.
   . To continue this work expanding services in the local
     community
   . To collectively support work, how to plan, apply for
     college, and how to do job interviews for employment as
     an alternative to relapse into drugs, correctional
     institutes or homelessness.
To continue to expand in the local communities in need


Email: productdistributions@drugfreegangfree.org
888-533-6661 Product Distribution Section. One of our specialist will contact you within one
business day.
INFRINGED CONTENT



                    '
                    <
·:;-.c,·' ·-·




                   •   Global Homeboy Network

                Global Homeboy Network




                What is the Global Homeboy Network?
                Since inception in 1988, Homeboy has become the largest and most successful gang
                intervention, rehabilitation and re-entry program in the world. Homeboy and its staff have
                become global thought leaders in all these areas in addition to social entrepreneurship. Homeboy
                has helped nurture into existence many similar programs around the world.

                Many have asked our Founder, Father Greg Boyle - "Will you ever duplicate Homeboy in
                another location?" His response has always been that we do not want to be the "McDonalds of
                gang intervention .. with 100 billion gang members served." Instead, we are creating a movement
                to address the lethal absence of hope where this model may be contextualized.

                In'2014, we formalized the Global Homeboy Network to ignite this model of social enterprise,
                a therapeutic community, healing, intentional attachment repair and jobs/skills training as an
                "exit ramp" for those stuck in a cycle of violence and incarceration. Convening and sharing
                strategies, best-practices and a common vision is part of the future of the Global Homeboy
                Network. Solidifying our services through implementation oflessons learned from the annual
                gathering, reconvening to share results and advancing the movement are Homeboy's dreams for
                the coming years. Part of Home boy's wish is to broaden and further the impact of our service
                delivery model by establishing and building partnerships with peer organizations who can
                become a part of this movement.


                                   -~   . ··~"-- ....... ~····,'-   .....
                         : : : . ; , , , _ · _ ,~,~,_:_,,:::~               ~.~~·M•••••.J•~•••••••




                2nd Annual Gathering of the Global Homeboy Network!
-""~'   '




            WELCOME RECEPTION & MIXER:
            Sunday, August 9th - 4:00 p.m. - 6:00 p.m. (*hors d'oeuvres included)
            Location: Homegirl Cafe, 130 West Bruno St., Los Angeles, CA 90012

            GATHERING:
            August 10th & 11th - 8:00 a.m. - 4:30 p.m.
            Location: The California Endowment, 1000 N. Alameda St., Los Angeles, CA 90012
            (*breakfast and lunch included with registration on both days)



            Early registration: Register before July 1 and cost is only $100 per person for all three days!

            Regular registration: Register between July 2-July 15 and cost is $150 per person for all three
            days.

            Late registration: Register between July 16-August 8 and cost is $200 per person for all three
            days.
.,




      WORKSHOP TOPICS INCLUDE:

      Mental Health
      Recovery & Resilience
      Case Management
      Peer Navigators & Mentorship
      Educational Spaces
      Fatherhood Support
      Engaging Youth
      Street Outreach
      Social Entrepreneurial Programs
      Law Enforcement Programs
      Partnerships
      Fundraising
      Marketing
      Social Enterprise

     . Check this page again for updates. Please
       email GlobalHomebovNetwork@liomebovindustries.org with any questions.


      HOTEL BLOCK:
      Sheraton Los Angeles Downtown Hotel
      711 South Hope Street
      Los Angeles, CA 90017
      (213) 612-3121
      http://www.sheratonlosangelesdowntown.com/
      (Block is under "Homeboy Industries" and has been extended until July 17th)   **
      SHERATON ALMOST SOLD OUT AS OF July 17 Spm**

      **HOTELS IN DOWNTOWN LA ARE SELLING OUT, SO PLEASE BOOK YOUR
      LODGING ASAP**

      Other hotels near Homeboy Industries can be (ound at this link.

      Tours ofHomeboy Industries will be available upon request on Wednesday, August 12th. If
      interested, please contact Alegria at acastro@homeboyindustries.org.

      For sponsorship information please email Alexa at arousso@homeboyindustries.org.
    More info: This gathering will bring together a variety of non-profit, institutional, and
    governmental agencies who have implemented, sought technical assistance, and/or expressed
    interest in learning more about the Homeboy comprehensive therapeutic approach to helping
    young men and women reclaim and reset their lives. We will share successes and lessons
    learned and spend quality/spiritual time with each other.

    Last year's inaugural August 2014 Gathering convened 35 cities, 17 states, 6 countries, and 74
    organizations! Nearly 200 attendees spent the day sharing, learning, and experiencing new ideas,
    methods, and approaches.                                                               ·

    This year we have expanded the 2015 Gathering to include two full days of longer, multi-tiered,
    and more interactive learning presentations and discussions. We hope you will join us and
    contribute your organization's voice, insights, and stories in order to strengthen and advance the
    work of the Global Homeboy Network.

    Your commitment, passion, and relentless spirit will improve the way we care for and serve
    disenfranchised members of society who today live on the margins but who tomorrow will be
    constructively and positively contributing to the fabric of our communities. We hope to see you
    in Los Angeles in August.

    For questions please email: GlobalHomeboyNetwork@homeboyindustries.org




i

I
'   ;




        Please check out the Facebook photo album from the 2014 gathering by clicking here. Feel free
          to tag yourself and your colleagues in the photos to keep the buzz going about the network.

                        Join us on social media by posting using hashtag #ghng2015 !




    Quick Links
                  o   Home
                  o   WhatWeDo
                  o   Why We Do It
                  o   Join Us
            o   Who we are
             o Shop Homeboy
             o News & Events
             o Contact
     •   Media Kit
     •   Sitemap


    HOPE HAS AN ADDRESS               SM




     •   Homeboy Industries
     •   130 W. Bruno St.
     •   Los Angeles, CA 90012



     •   Tel: (323) 526-1254
     •   Fax: (323) 526-1257
     •   Info@Homeboyindustries.org


    Stay Connected


     •




     •



!
1   Sign up for our
    monthly
«    '




     September 2016 Global Homeboy Network Webpage

    Homeboy Industries is the largest and most successful gang
    rehabilitation and re-entry program in the.world.

    HOMEBOY HAS
         •   Changed the way the public views the recently incarcerated
         •   Led the social entrepreneurship movement
         •   Made Los Angeles a safer place

     Many have asked Homeboy Founder Fr. Greg Boyle, "Will you ever duplicate Homeboy in other
     cities?" And the surprising answer is "no." Having intentionally chosen not to be the
    ·"McDonald's of gang intervention programs'" Homeboy has long sought an expansion model
     that would both respect and develop the local voices that must be at the center of community-
     based services.                                                                           ·

    And so, in 2014, the Global Homeboy Network (GHN) was founded to answer that call.

    The mission of the Global Homeboy Network is to work with organizations across the globe to
    create therapeutic communities that offer job skills training, cost-free programs and services, and
    social enterprise employment.




                                                                       GHN' s goal is to assist
    other organizations as they provide marginalized men, women, and youth with tools they need to
    change their lives and become productive members of their communities.
At its core the GHN seeks to widen the circle of compassion, tenderness, and kinship by
fostering community, sanctuary, family, and a place of welcome for those on the margins. These
values drive GHN's growth and direction.

Homeboy launched the GHN by hosting the first annual Global Homeboy Network Gathering in
August 2014 to provide structure and clear strategic direction to the technical assistance that
Homeboy has been providing for decades.

The inaugural gathering included leaders from communities across the United States and the
globe who have long hoped to bring pieces of the Homeboy model to their work and
organizations. This unconventional "conference" included technical assistance, best practice,
storytelling, workshops, panel discussions, and activities that helped share the knowledge and
tools found within the Homeboy model.

The Global Homeboy Network now includes over 85 organizations that are actively working to
provide hope and a future to high-risk populations.


"We imagine no one standing outside of the circle, moving ourselves closer to the margins so
that the margins themselves will be erased. We stand there with those whose dignity has been
denied. We locate ourselves with the poor and the powerless and the voiceless. At the edges, we
join the easily despised and the readily left out. We stand with the demonized so that the
demonizing will stop. We situate ourselves right next to the disposable so that the day will come
when we stop throwing people away." -Fr. Greg Boyle

Widening the circle with compassion, tenderness, and kinship, creating community, sanctuary,
family, a place to welcome those on the edges, on the margins- these ideas are what ultimately
led to the creation of the Global Homeboy Network in 2014, and what continue to drive its
growth and direction.

Since Homeboy's start in 1988, hundreds of organizations have visited Homeboy Industries
Headquarters or asked for the organization to send staff as advisors, seeking guidance and
concrete technical assistance as they work to envision, build, and grow organizations within their
own communities. These organizations have come to Homeboy to learn more about our free
programs and services, and social enterprise business model.

Homeboy provides concrete value to organizations across the globe who seek to replicate some
or many of the successful programs and social enterprises that together make the Homeboy
model. As a "lighthouse" for these organizations, Homeboy provides a starting map, as well as a
strategic set of tools and program models, for leaders who hope to bring some piece of our model
to their own communities. Together as a network of organizations we can collectively advocate
for change, test and improve services for vulnerable populations, work together on public policy,
and invest in making changes to the criminal justice system.
